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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X                      1/11/2021


BAIRON ORELLANA, et al.,

                                            Plaintiffs,                18-CV-07865 (VSB)(SN)

                          -against-                                             ORDER

ONE IF BY LAND RESTAURANT, LLC, et al.,

                                            Defendants.

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SARAH NETBURN, United States Magistrate Judge:

        On January 11, 2021, the Honorable Vernon S. Broderick assigned this matter to my

docket for settlement. In light of the Court’s busy calendar, settlement conferences must

generally be scheduled at least six to eight weeks in advance. The Court will likely be unable to

accommodate last-minute requests for settlement conferences, and the parties should not

anticipate that litigation deadlines will be adjourned in response to late requests for settlement

conferences. As soon as practicable, the parties are directed to contact Courtroom Deputy Rachel

Slusher at Rachel_Slusher@nysd.uscourts.gov with three (3) mutually convenient dates, to

schedule a settlement conference for a time when they believe it would be productive. All

currently scheduled deadlines are adjourned for 45 days from the date of this Order.

SO ORDERED.




DATED:           January 11, 2021
                 New York, New York
